Case 1:19-cr-00374-RDM Document278 _ Filed 02/04/25 Pageiofi1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES
v. Criminal Action No. 19-374 (RDM)
AHMAD KHAWAJA,

Defendant.

ORDER

Upon consideration of Defendant Ahmad Khawaja’s Motion for Compulsory Process,
Dkt. 273, it is hereby ORDERED that George A. Nader shall be deposed as a witness in this
case in order to preserve his testimony for trial; and it is further

ORDERED that Mr. Khawaja may take Mr. Nader’s video-taped deposition under the
Federal Rule of Criminal Procedure 15 within two (2) days of the date of this Order; and it is
further

ORDERED that Mr. Nader’s deposition shall be limited to one (1) day of seven (7)
hours, unless otherwise agreed to by the parties; and it is further

ORDERED that Mr. Khawaja may be present for the video-taped deposition of Mr.
Nadar, and that if Mr. Khawaja chooses not to be present he shall file on the docket a waiver of
his right to be present at the deposition and his agreement that the deposition may be used at trial

notwithstanding his nonattendance.

SO ORDERED ‘le (oll Mw

RANDGLPH D. MOSS
[RAND States District Judge

Date: February 4, 2025
